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                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA



SECURITIES AND EXCHANGE
COMMISSION,

                             Plaintiff,

                      V.                            C.A. No.


MEDIENT STUDIOS,INC.,FONU2,
INC., MANU KUMARAN,JOEL A.                                   i. S. DISTRICT COURT
                                                            Southern District of Ga.
"JAKE" SHAPIRO,and ROGER
                                                                           Office
MIGUEL,

                             Defendants.
                                                                  Deputy



                  ORDER OF PERMANENT INJUNCTION
                      AS TO DEFENDANT FONU2.INC.


      The Securities and Exchange Commission having filed a complaint and

Defendant Fonu2,Inc.("Defendant" or "Fonu2")having entered a general

appearance; consented to the Court's jurisdiction over Defendant and the subject

matter of this action; consented to entry of this Order without admitting or denying

the allegations of the complaint(except as to jurisdiction); waived findings offact

and conclusions of law; and waived any right to appeal from this Order:

                                          I.


      IT IS HEREBY ORDERED,ADJUDGED,AND DECREED that Defendant

is permanently restrained and enjoined from violating, directly or indirectly.
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